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                                                UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF VIRGINIA

                                                       CHAPTER 13 PLAN - AMENDED
                                                         AND RELATED MOTIONS
Name of Debtor(s):               Brian James Bradley                                     Case No:   13-70942


This plan, dated         June 27, 2013        , is:

                             the first Chapter 13 plan filed in this case.
                             a modified Plan, which replaces the
                               confirmed or unconfirmed Plan dated May 2, 2013.

                             Date and Time of Modified Plan Confirming Hearing:
                             Thursday, September 4, 2013 at 10:00 a.m
                             Place of Modified Plan Confirmation Hearing:
                             Chief Judge St. John's Courtroom, 600 Granby Street, 4th Floor, Courtroom 1, Norfolk, Virginia

                     The Plan provisions modified by this filing are:
                     Section 1
                     Section 4(A)

                     Creditors affected by this modification are:
                     All Creditors

NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this Plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.
This Plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be
granted, without further notice or hearing unless a written objection is filed not later than seven (7) days
prior to the date set for the confirmation hearing and the objecting party appears at the confirmation
hearing. Objection due date: 7 days prior to confirmation hearing. Confirmation hearing is set
for Thursday, September 4, 2013 at 10:00 a.m in Chief Judge St. John's Courtroom, 600 Granby Street,
4th Floor, Courtroom 1, Norfolk, Virginia.
The debtor(s)' schedules list assets and liabilities as follows:

         Total Assets: $193,669.00
         Total Non-Priority Unsecured Debt: $152,541.00
         Total Priority Debt: $0.00
         Total Secured Debt: $182,051.00




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1.        Funding of Plan. The debtor(s) propose to pay the trustee the sum of $250.00 Monthly for 1 month, then $481.00 Monthly
          for 2 months, then $655.00 Monthly for 57 months. Other payments to the Trustee are as follows: NONE . The total
          amount to be paid into the plan is $ 38,547.00 .

2.        Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

          A.          Administrative Claims under 11 U.S.C. § 1326.

                      1.         The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10%, of all sums
                                 disbursed except for funds returned to the debtor(s).
                      2.         Debtor(s)' attorney will be paid $ 2,000.00 balance due of the total fee of $ 3,000.00 concurrently
                                 with or prior to the payments to remaining creditors.

          B.          Claims under 11 U.S.C. §507.
                      The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                      monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                      other priority creditors but concurrently with administrative claims above:

Creditor                                     Type of Priority                                     Estimated Claim        Payment and Term
-NONE-


3.        Secured Creditors: Motions to Value Collateral ("Cramdown"), Collateral being Surrendered, Adequate Protection
          Payments, and Payment of certain Secured Claims.

          A.          Motions to Value Collateral (other than claims protected from "cramdown" by 11 U.S.C. § 1322(b)(2) or by
                      the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the Court, the
                      Court may grant the debtor(s)' motion to value collateral as set forth herein.

          This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
          "cramdown" by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)' principal residence] or by the final paragraph of 11
          U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
          bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
          treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
          interest as provided in sub-section D of this section. You must refer to section 3(D) below to determine the interest
          rate, monthly payment and estimated term of repayment of any "crammed down" loan. The deficiency balance owed
          on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 4 of the Plan.
          The following secured claims are to be "crammed down" to the following values:

       Creditor                                  Collateral                       Purchase Date      Est Debt Bal.    Replacement Value
-NONE-




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        B.          Real or Personal Property to be Surrendered.

        Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
        claims of the following creditors in satisfaction of the secured portion of such creditors' allowed claims. To the extent that the
        collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
        non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay as to the interest of the debtor(s)
        and the estate in the collateral.

Creditor                                          Collateral Description                              Estimated Value         Estimated Total Claim
1st Guaranty Mortgage Corp*                       5061 Thornton Drive                                      174,000.00                       174,000.00
                                                  Summerville, SC 29420

                                                  Note: Debtor's wife is in possession
                                                  of the property as stated in the final
                                                  decree of their divorce. Debtor would
                                                  like to surrender his interest in the
                                                  property.
Ford Motor Credit                                 2010 Ford Mustang                                                 1.00                     27,622.00
                                                  Note: Debtor's ex-wife has possession
                                                  of the vehicle and makes all
                                                  payments. Debtor wants to surrender
                                                  his interest in the property.

        C.          Adequate Protection Payments.

        The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
        secured by personal property, until the commencement of payments provided for in sections 3(D) and/or 6(B) of the Plan, as
        follows:

                                                                                                     Adeq. Protection
Creditor                                          Collateral Description                             Monthly Payment                   To Be Paid By
Navy Federal Credit Union *                       2007 Pontiac G6                                                 156.00        Chapter 13 Trustee
                                                  Mileage: 125,000
                                                  Condition: Fair
        Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
        6(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
        order for relief).

        D.          Payment of Secured Claims on Property Being Retained (except only those loans provided for in section 5 of
                    the Plan):

        This section deals with payment of debts secured by real and/or personal property [including short term obligations,
        judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
        allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral's
        replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
        the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
        Plan, the valuation and interest rate shown below will be binding unless a timely written objection to confirmation is
        filed with and sustained by the Court.

                                                                           Approx. Bal. of Debt or     Interest
     Creditor                             Collateral                      "Crammed Down" Value           Rate       Monthly Paymt & Est. Term**
Navy Federal             2007 Pontiac G6                                                  8,251.00     5.25%                                 156.65
Credit Union *           Mileage: 125,000                                                                                                60 months
                         Condition: Fair

        E.          Other Debts.

        Debts which are (i) mortgage loans secured by real estate which is the debtor(s)' primary residence, or (ii) other long term
        obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
        payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 5 of the Plan.

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4.        Unsecured Claims.

          A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                      remaining after disbursement to allowed secured and priority claims. Estimated distribution is approximately 15
                      %. The dividend percentage may vary depending on actual claims filed. If this case were liquidated under Chapter
                      7, the debtor(s) estimate that unsecured creditors would receive a dividend of approximately 0 %.

          B.          Separately classified unsecured claims.

Creditor                                                    Basis for Classification                                              Treatment
-NONE-

5.        Mortgage Loans Secured by Real Property Constituting the Debtor(s)' Primary Residence; Other Long Term
          Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any
          existing default under 11 U.S.C. § 1322(b)(5).

          A.          Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors listed
                      below will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if any, will
                      be paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated below,
                      without interest unless an interest rate is designated below for interest to be paid on the arrearage claim and such
                      interest is provided for in the loan agreement.

                                                                                    Regular                   Arrearage                  Monthly
                                                                                   Contract       Estimated    Interest  Estimated      Arrearage
Creditor                           Collateral                                      Payment        Arrearage      Rate   Cure Period      Payment
-NONE-

          B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                      regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                      debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                      below.

                                                                                    Regular                                              Monthly
                                                                                   Contract        Estimated Interest    Term for       Arrearage
Creditor                           Collateral                                      Payment         Arrearage Rate        Arrearage       Payment
-NONE-

          C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                      constituting the debtor(s)' principal residence upon which the last scheduled contract payment is due before the final
                      payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                      1322(c)(2) with interest at the rate specified below as follows:

                                                                                       Interest     Estimated
       Creditor                                 Collateral                               Rate        Claim        Monthly Paymt& Est. Term**
-NONE-


6.        Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts
          and leases listed below.

          A.          Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                              Type of Contract
-NONE-




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           B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                       contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                       arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                       indicated below.

                                                                                                                       Monthly
                                                                                                                       Payment            Estimated
Creditor                                 Type of Contract                                                Arrearage   for Arrears         Cure Period
-NONE-

7.         Liens Which Debtor(s) Seek to Avoid.

           A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                       judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a
                       written objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the
                       creditor's lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                       hearing.

Creditor                                 Collateral                                   Exemption Amount                          Value of Collateral
-NONE-

           B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                       will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                       the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                       here is for information purposes only.

Creditor                                  Type of Lien                       Description of Collateral               Basis for Avoidance
-NONE-

8.         Treatment and Payment of Claims.

           •           All creditors must timely file a proof of claim to receive payment from the Trustee.
           •           If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                       object to confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the
                       Plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided
                       for in this case, after the debtor(s) receive a discharge.
           •           If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                       creditor will be treated as unsecured for purposes of distribution under the Plan.
           •           The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

9.         Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
           Notwithstanding such vesting, the debtor(s) may not sell, refinance, encumber real property or enter into a mortgage loan
           modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
           other creditors to the extent required by the Local Rules of this Court.

10.        Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative
           total of $5,000 principal amount during the term of this Plan, either unsecured or secured against personal property, except
           upon approval of the Court after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to
           the extent required by the Local Rules of this Court.




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11.        Other provisions of this plan:
           Attorney's Fees: Attorney fees will be paid as an administrative expense prior to payments to creditors.

           Administrative Costs: In addition to the attorney fees listed in paragraph 2A, necessary and reasonable costs not to
           exceed $300.00 pursuant to EDVA Standing Order No. 08-1 were paid in advance. Itemization below is for
           informational purposes:

           $5.00 - Petition Production and Copy Costs (Retainer packet/folder, client intake form)
              a. 17 pgs. @ .15 cent/pg (Preliminary Case Preparation Forms)
              b. Intake Folder ($1.00)
              c. Client Intake Form ($1.00)

           $3.00 - Client File

           $3.00 - CMA

           $94.00 - for copying costs of petition and plan
              a. 46 pgs x 4 petitions @ .15 cents/pg
              b. 17 pgs x 13 Plans @ .15 cents/pg
              c. 17 pgs x 13 amended plan @ .15 cents/pg

           $27.00 - postage/mailing
              a. 13 plans @ .88 cents/plan
              b. 13 amended plans @ .88 cents/plan
              c. $4.00 - Complete Filing Package to client

           $1.00 - 1 hour parking for 341 hearing attendance

           Total: $133.00




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Signatures:


Dated:       June 27, 2013


/s/ Brian James Bradley                                                                    /s/ Pamela Trachtman-Allen
Brian James Bradley                                                                        Pamela Trachtman-Allen 83114
Debtor                                                                                     Debtor's Attorney


Exhibits:            Copy of Debtor(s)' Budget (Schedules I and J);
                     Matrix of Parties Served with Plan


                                                                  Certificate of Service
I certify that on     June 27, 2013         , I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service
List.

                                                        /s/ Pamela Trachtman-Allen
                                                        Pamela Trachtman-Allen 83114
                                                        Signature

                                                        3419 Virginia Beach Blvd., #236
                                                        Virginia Beach, VA 23452
                                                        Address

                                                        (757)340-4895
                                                        Telephone No.



Ver. 09/17/09 [effective 12/01/09]




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                                                          United States Bankruptcy Court
                                                                  Eastern District of Virginia
 In re      Brian James Bradley                                                                              Case No.   13-70942
                                                                                Debtor(s)                    Chapter    13


                                              SPECIAL NOTICE TO SECURED CREDITOR

           1st Guaranty Mortgage Corp*
           c/o Andrew Peters, CEO
           1909 Woodall Rodgers St 300
To:        Dallas, TX 75201
           Name of creditor

           5061 Thornton Drive
           Summerville, SC 29420

           Note: Debtor's wife is in possession of the property as stated in the final decree of their divorce. Debtor would like to
           surrender his interest in the property.
           Description of collateral


1.         The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                       To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                       amount you are owed above the value of the collateral will be treated as an unsecured claim.

                       To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                       Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

            Date objection due:                                                               7 days prior to confirmation hearing
            Date and time of confirmation hearing:                                    Thursday, September 4, 2013 at 10:00 a.m
            Place of confirmation hearing:                            Chief Judge St. John's Courtroom, 600 Granby Street, 4th
                                                                                          Floor, Courtroom 1, Norfolk, Virginia

                                                                                      Brian James Bradley
                                                                                      Name(s) of debtor(s)

                                                                                By:   /s/ Pamela Trachtman-Allen
                                                                                      Pamela Trachtman-Allen 83114
                                                                                      Signature

                                                                                            Debtor(s)' Attorney
                                                                                            Pro se debtor

                                                                                      Pamela Trachtman-Allen 83114
                                                                                      Name of attorney for debtor(s)
                                                                                      3419 Virginia Beach Blvd., #236
                                                                                      Virginia Beach, VA 23452
                                                                                      Address of attorney [or pro se debtor]

                                                                                      Tel. #      (757)340-4895
                                                                                      Fax #       (757)340-4894


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                                                               CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

              first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

              certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    June 27, 2013        .


                                                                             /s/ Pamela Trachtman-Allen
                                                                             Pamela Trachtman-Allen 83114
                                                                             Signature of attorney for debtor(s)



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                                                          United States Bankruptcy Court
                                                                  Eastern District of Virginia
 In re      Brian James Bradley                                                                              Case No.   13-70942
                                                                                Debtor(s)                    Chapter    13


                                              SPECIAL NOTICE TO SECURED CREDITOR

           Ford Motor Credit
           CT Corporation System
           4701 Cox Road, Ste. 301
To:        Glen Allen, VA 23060
           Name of creditor

           2010 Ford Mustang
           Note: Debtor's ex-wife has possession of the vehicle and makes all payments. Debtor wants to surrender his interest
           in the property.
           Description of collateral


1.         The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                       To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                       amount you are owed above the value of the collateral will be treated as an unsecured claim.

                       To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                       Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

            Date objection due:                                                               7 days prior to confirmation hearing
            Date and time of confirmation hearing:                                    Thursday, September 4, 2013 at 10:00 a.m
            Place of confirmation hearing:                            Chief Judge St. John's Courtroom, 600 Granby Street, 4th
                                                                                          Floor, Courtroom 1, Norfolk, Virginia

                                                                                      Brian James Bradley
                                                                                      Name(s) of debtor(s)

                                                                                By:   /s/ Pamela Trachtman-Allen
                                                                                      Pamela Trachtman-Allen 83114
                                                                                      Signature

                                                                                            Debtor(s)' Attorney
                                                                                            Pro se debtor

                                                                                      Pamela Trachtman-Allen 83114
                                                                                      Name of attorney for debtor(s)
                                                                                      3419 Virginia Beach Blvd., #236
                                                                                      Virginia Beach, VA 23452
                                                                                      Address of attorney [or pro se debtor]

                                                                                      Tel. #      (757)340-4895
                                                                                      Fax #       (757)340-4894




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              first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

              certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    June 27, 2013        .


                                                                             /s/ Pamela Trachtman-Allen
                                                                             Pamela Trachtman-Allen 83114
                                                                             Signature of attorney for debtor(s)



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                                                          United States Bankruptcy Court
                                                                  Eastern District of Virginia
 In re      Brian James Bradley                                                                              Case No.   13-70942
                                                                                Debtor(s)                    Chapter    13


                                              SPECIAL NOTICE TO SECURED CREDITOR

           Navy Federal Credit Union *
           c/o Cutler Dawson, CEO
           820 Follin Lane
To:        Vienna, VA 22180
           Name of creditor

           2007 Pontiac G6
           Mileage: 125,000
           Condition: Fair
           Description of collateral


1.         The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                       To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                       amount you are owed above the value of the collateral will be treated as an unsecured claim.

                       To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                       Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

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A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

            Date objection due:                                                               7 days prior to confirmation hearing
            Date and time of confirmation hearing:                                    Thursday, September 4, 2013 at 10:00 a.m
            Place of confirmation hearing:                            Chief Judge St. John's Courtroom, 600 Granby Street, 4th
                                                                                          Floor, Courtroom 1, Norfolk, Virginia

                                                                                      Brian James Bradley
                                                                                      Name(s) of debtor(s)

                                                                                By:   /s/ Pamela Trachtman-Allen
                                                                                      Pamela Trachtman-Allen 83114
                                                                                      Signature

                                                                                            Debtor(s)' Attorney
                                                                                            Pro se debtor

                                                                                      Pamela Trachtman-Allen 83114
                                                                                      Name of attorney for debtor(s)
                                                                                      3419 Virginia Beach Blvd., #236
                                                                                      Virginia Beach, VA 23452
                                                                                      Address of attorney [or pro se debtor]

                                                                                      Tel. #      (757)340-4895
                                                                                      Fax #       (757)340-4894




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creditor noted above by

              first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

              certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    June 27, 2013        .


                                                                             /s/ Pamela Trachtman-Allen
                                                                             Pamela Trachtman-Allen 83114
                                                                             Signature of attorney for debtor(s)



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